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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    RALPH WHITE,                                    No. 2:19-cv-913-JAM-EFB PS
12                       Plaintiff,
13           v.                                       ORDER
14    CHRISTIAN CLEGG, in his official
      capacity as Interim City Clerk for the City
15    of Stockton; CITY OF STOCKTON, a
      municipal corporation; MELINDA
16    DRUBOFF, in her official capacity as
      Registrar of Voters for the County of San
17    Joaquin; ALEX PADILLA, in his official
      capacity as the Secretary of State for
18    California ,
19                       Defendants.
20

21          On August 2, 2019, the magistrate judge filed findings and recommendations herein

22   which were served on the parties and which contained notice that any objections to the findings

23   and recommendations were to be filed within fourteen days. No objections were filed.

24          The court has reviewed the applicable legal standards and, good cause appearing,

25   concludes that it is appropriate to adopt the proposed Findings and Recommendations in full.

26          Accordingly, IT IS ORDERED that:

27          1. The proposed Findings and Recommendations filed August 2, 2019, are ADOPTED;

28          2. This action is dismissed as moot;
     Case 2:19-cv-00913-JAM-EFB Document 24 Filed 09/24/19 Page 2 of 2


 1         3. Defendants’ motions to dismiss (ECF No. 8, 10, 13) are denied as moot; and
 2         4. The Clerk is directed to close the case.
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     DATED: September 24, 2019
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                                                 /s/ John A. Mendez____________            _____
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 6                                               UNITED STATES DISTRICT COURT JUDGE

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